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                        `UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

DIANE PERRY                               :
                                          :
       v.                                 :      C.A. No. 10-405 ML
                                          :
NINETY NINE RESTAURANT & PUB,             :
O’CHARLEY’S INC., CHRISTOPHER             :
ENGLAND, MICHELLE DEANE,                  :
FRANK SMITH, VICKI SIMPSON                :
and JEAN DEFEDELE                         :

                         DEFENDANTS’ MOTION TO DISMISS

       Defendants Ninety Nine Restaurant & Pub (correct corporate name is 99 West,

Inc.), O’Charley’s, Inc., Michelle Deane, Christopher England, Frank Smith, Vicki

Simpson and Jean Defedele (“Defendants”), by and through their attorneys, hereby

move to dismiss Plaintiff’s Complaint for failure to make service of process and failure to

state a claim on which relief can be granted under Rules 12(b)(5) and (6) of the Federal

Rules of Civil Procedure. The grounds for Defendants’ Motion to Dismiss are set forth

in detail in their accompanying Memorandum of Law.

Dated: October 6, 2010

                                          Defendants NINETY NINE RESTAURANT &
                                          PUB, O’CHARLEY’S INC., MICHELLE
                                          DEANE, CHRISTOPHER ENGLAND, FRANK
                                          SMITH, VICKI SIMPSON and JEAN
                                          DEFEDELE
                                          By their attorneys,

                                          /s/ Lori Caron Silveira
                                          LORI CARON SILVEIRA (#3002)
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                                          -and-

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                              CERTIFICATE OF SERVICE


       I hereby certify that a true copy of the within Motion to Dismiss was sent by first
class mail to the following counsel of record on this 6th day of October, 2010.

Patricia E. Andrews
129 Dyer Street
Providence, RI 02903


                                          /s/ Lori Caron Silveira
                                          Lori Caron Silveira




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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

DIANE PERRY                                :
                                           :
       v.                                  :      C.A. No. 10-405 ML
                                           :
NINETY NINE RESTAURANT & PUB,              :
O’CHARLEY’S INC., CHRISTOPHER              :
ENGLAND, MICHELLE DEANE,                   :
FRANK SMITH, VICKI SIMPSON                 :
and JEAN DEFEDELE                          :


                      MEMORANDUM OF LAW IN SUPPORT OF
                        DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Fed. R. Civ. Pro. 12(b)(5) and (6), Defendants Ninety Nine

Restaurant & Pub (correct corporate name is 99 West, Inc.), (“99 West”), O’Charley’s,

Inc. (“O’Charley’s”), Michelle Deane, Christopher England, Frank Smith, Vicki Simpson

and Jean Defedele (“Defendants”) move to dismiss all counts in the Plaintiff’s Complaint

against them. First, Plaintiff failed to timely serve Defendants under Rhode Island Rule

of Civil Procedure 4. Second, the claims against Ms. Deane, Mr. England, Mr. Smith,

Ms. Simpson and Ms. Defedele (“Individual Defendants”) under the Rhode Island Fair

Employment Practices Act (“RIFEPA”) RIGL § 28-5-1 and the Rhode Island Civil Rights

Act (“RICRA”) RIGL § 42-112-1 et seq. are insufficient and fail to state a claim upon

which individual liability could be found. Finally, Plaintiff signed an Alternative Dispute

Resolution agreement, which applies to all issues raised in the Complaint and,

therefore, the Complaint should be dismissed.

                                      BACKGROUND

       On December 3, 2008, Diane Perry filed a charge of discrimination at the Rhode

Island Commission on Human Rights (“RICHR”) claiming violations of RIFEPA and
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RICRA against Defendants. Plaintiff was represented at the RICHR by the same

counsel representing her in the present action. On January 24, 2009, the law firm of

Murtha Cullina LLP notified the RICHR and Plaintiff’s counsel of its representation of all

respondents in the position statement filed with the Commission on behalf of all

respondents. On May 29, 2009, the RICHR made a finding of no probable cause,

terminating the administrative proceedings. Despite the finding of no probable cause,

Plaintiff apparently sought, and the RICHR then issued, a Right to Sue letter on January

25, 2010, triggering a 90-day statute of limitation for filing suit. See Notice of Right to

Sue (attached at Exhibit A).

       Plaintiff filed a Complaint in Rhode Island Superior Court on April 14, 2010, again

asserting the claims rejected by the Commission. As the 120-day period for service of

process was coming to a close, with no service having been made on any defendant,

Plaintiff then apparently filed a motion for an extension of time in which to make service,

giving no notice to Defendants’ counsel or any Defendants of the motion. Plaintiff also

apparently appeared ex parte before the Court to press the motion, and obtain an Order

granting the extension because “no objection was filed.” See Motion and Order

(attached at Exhibit B). Then, on or about August 17 2010, several Defendants

received from Plaintiff’s counsel a letter, waiver of service forms, an unsigned Order

purporting to grant 60 additional days from July 28, 2010, to serve the Complaint, and a

copy of the Complaint. See August 16, 2010 Waiver letter (attached at Exhibit C).

Only defendant Vicki Simpson executed the waiver and, upon information and belief,




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returned it to Plaintiff’s counsel in the first week of September 2010. No other

defendant was served prior to the expiration of the additional 60 days to serve pursuant

to the purported Order.

       On September 30, 2010, Ms. Simpson removed this action to federal court as

she is a South Carolina resident. That same day, which was four days after the

purported extension of time to serve had expired, Plaintiff served 99 West and Ms.

Deane. None of the remaining Defendants has been served.

I.     Plaintiff Failed to Timely Serve Defendants.

       Insufficiency of service of process is properly challenged pursuant to Federal

Rule 12(b)(5). Once challenged, the plaintiff bears the burden of establishing that

service was valid. Evora v. Boyd, CA No. 07-322 S, 2008 U.S. Dist. LEXIS 58172, at

*2-3 (D.R.I. June 17, 2008) (citing Saez Rivera v. Nissan Mfg. Co., 788 F.2d 819, 821

n.2 (1st Cir. 1986))(attached at Exhibit D). Therefore, Plaintiff must prove that she

served in accordance with applicable rules.

       Under Federal Rule of Civil Procedure 81(c), state law governs sufficiency of

process prior to the removal of a state court action to federal court and should be

applied by federal courts in determining whether there were procedural deficiencies

prior to removal. Fed. R. Civ. P. 81(c); Osborne v. Sandoz Nutrition Corp., 67 F.3d 289,

1995 LEXIS 28008, at *4 (1st Cir. Mass. Oct. 6, 1995) (emphasizing that federal

removal statute was not to be used to “breathe jurisprudential life in federal court to a

case legally dead in state court.”) (attached at Exhibit E). Rule 12(b)(5) of the Rhode

Island Superior Court Rules of Civil Procedure provides that a plaintiff’s claim may be




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dismissed for insufficiency of service of process. Under Rule 4(l), the Court must

dismiss an action if process is not served upon the defendant within 120 days after the

action is filed: “If a service of the summons and complaint is not made upon a

defendant within 120 days after the commencement of the action, the court . . . shall

dismiss the action[.]” Super. R. Civ. P. 4(l). The Rhode Island Supreme Court has

consistently affirmed that a plaintiff's failure to effect service of process within 120 days

without good reason for the delay causes the action to be dismissed. See Norcliffe v.

Resnick, 694 A.2d 1210, 1212 (R.I. 1997).

        Assuming, without conceding, that the order purporting to grant Plaintiff an

additional 60 days from July 28, 2010 to serve the Defendants remains effective (see

section I.C.), Plaintiff was required to serve Defendants on or before September 26,

2010.

        A.     O’Charley’s, Mr. England, Mr. Smith and Ms. Defedele were Never
               Served.

        To date, Plaintiff has not served O’Charley’s, Mr. England, Mr. Smith or Ms.

Defedele. The time to serve these defendants under the purported Order extending

time to serve has expired. Therefore, all claims against them should be dismissed for

failing to serve.

        B.     99 West and Ms. Deane were Not Timely Served.

        Again, assuming that the extension of time obtained remains in effect, Plaintiff

served 99 West and Ms. Deane four days after the purported extension of time to serve

expired. Plaintiff had more than six months to serve Defendants. Therefore, all claims

against them should be dismissed for failing to timely serve.




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       C.     Plaintiff Improperly Obtained an Extension of Time to Serve.

       In addition, Plaintiff improperly sought and obtained an ex parte extension of time

to serve the Defendants. As a result of the improper conduct, the Order purporting to

grant an extension of time should be deemed ineffective, and the waiver of service

signed by Ms. Simpson should be deemed invalid since it was obtained after the original

120 days expired. Consequently, service on all Defendants is more than two months

overdue as required by Rhode Island law and claims against them should be dismissed.

The critical facts include the following:

       After Plaintiff’s attorney, Patricia Andrews, filed the Complaint in Rhode Island

Superior Court on April 14, 2010, nothing happened until early June 2010, when a

lawyer from Attorney Andrews’s office called one of the attorneys that represented the

Defendants at the RICHR, Dena Castricone, asking her to accept service on behalf of

the Defendants. Attorney Castricone declined, advising that she was not authorized to

accept service. See Affidavit of Dena Castricone (attached at Exhibit F).

       After the expiration of the 120-day period within which to serve the Complaint,

defendants 99 West, O’Charley’s, Ms. Simpson and Ms. Deane received a letter dated

August 16, 2010, a waiver of service form, an unsigned Order purporting to grant 60

additional days from July 28, 2010 to serve the Complaint and a copy of the Complaint.

See August 16, 2010 letter (Exhibit B). The purported Order extending time to serve,

drafted by Plaintiff’s counsel, states that a hearing was held on Plaintiff’s Motion for

Extension of Time to Serve Defendants on July 28, 2010, and that no objection was

filed. See Order (Exhibit A). None of Defendants or their counsel, however, received




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notice of the Plaintiff’s Motion (despite the inclusion of “Notice of Motion” language in

the Motion) or had an opportunity to object, despite the fact that Plaintiff’s counsel knew

how to notify counsel for Defendants and did so a month or two earlier to seek

acceptance of service. Therefore, Plaintiff’s ex parte motion for an extension of time

was improper.

       Plaintiff’s counsel was required to provide notice of its Motion for Extension of

Time. See RI Civ. Pro. Rule 5(a). The rule provides that every pleading and written

notice subsequent to the Complaint "shall be served upon each of the parties." Rule

5(b)(1). Further, service on represented parties is made on the attorney. Rule 5(a).

Notice of representation by counsel need not be formal; representation can be inferred

from the circumstances, and Plaintiff’s counsel could not “close her eyes to the

obvious,” given her actual knowledge that the Defendants had been represented by

counsel in the administrative proceedings. See Commentary at [8] to Rule 4.2, Rhode

Island Rules of Professional Conduct. The circumstances here indicate that not only

were the Defendants represented by counsel but that Plaintiff’s counsel was well aware

of that representation, yet she filed an ex parte motion, appeared ex parte, and obtained

an ex parte Order in circumstances that did not allow for ex parte communications with

the Court.

       Critically, Plaintiff’s motion to extend the time for service was by no means

typical. Plaintiff effectively obtained more than a simple extension of time; she

essentially sought (ex parte) and received an extension of the applicable statute of

limitations on this action. She had 90 days from the RICHR’s issuance of the Notice of




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Right to Sue in which to file her action. Therefore, failing to timely serve by August 14,

2010, would have prevented her from starting the process over and filing another

complaint because the 90-day limitations period would have expired.

       Further, had Defendants’ counsel been given notice of the motion to extend the

time for service, counsel would have objected, challenging the contention of Plaintiff’s

counsel that she needed additional time because she had recently learned that some of

the defendants were out of state. Defendants would have called to the Court’s attention

that: (1) Plaintiff made her first attempt to “serve” in June 2010 by asking Defendants’

counsel to accept service; (2) only one defendant has moved out of state since Perry’s

filing at the RICHR; and (3) service information on the corporate defendants always has

been readily accessible on the Secretary of State’s website and was known by Plaintiff

as a result of the RICHR matter that she filed in December 2008. Plaintiff’s

misrepresentations to the Court suggesting difficulties encountered in locating

Defendants for the purpose of making service; her representation to the Court that the

Order granting additional time to serve should be granted because Defendants had

failed to object (when they had never been given notice and the opportunity to do so);

and her failing to give notice to Defendants or Defendants’ counsel of the Motion for

Extension and effectively bringing the motion ex parte before the Court all render the

Order granting the extension of time invalid.

       There is no reasonable excuse for (a) the failure of Plaintiff’s counsel to give

notice to Defendants or their attorneys of the Motion for Extension of Time, or (b) the

misleading statement to the Court that the Order should be granted since Defendants

had not objected. Again, had Defendants or their attorneys been properly notified, they



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would have objected. Consequently, the Order granting additional time for service

should be vacated. Once that Order is deemed vacated, then the action against all

Defendants must be dismissed for failure to serve before the initial 120 days had

expired.

II.    The Complaint Should Be Dismissed Because There Is No Viable Theory of
       Liability Against the Individual Defendants

       Dismissal is appropriate pursuant to Fed. R. Civ. P. 12(b)(6) "if the pleadings fail

to set forth factual allegations, either direct or inferential, respecting each material

element necessary to sustain recovery under some actionable legal theory." Centro

Medico del Turabo, Inc. v. Feliciano de Melecio, 406 F.3d 1, 6 (1st Cir. 2005) (internal

quotation marks and citation omitted). A court may dismiss a complaint for failure to

state a claim if “the complaint, in light of the facts alleged, engenders no viable theory of

liability.” Id. (citing Educadores, 367 F.3d at 66; Blackstone Realty LLC v. FDIC, 244

F.3d 193, 197 (1st Cir. 2001)). Plaintiff’s allegations, even considered in a light most

favorable to her, cannot state a claim for individual liability against the Individual

Defendants.

       A.     There is No Viable Cause of Action for Individual Liability Under RIFEPA
              or RICRA.

       The Individual Defendants cannot be held individually liable for alleged violation

of RIFEPA and RICRA. Federal employment law serves as the legal framework for

interpreting state employment discrimination statutes, including RIFEPA and RICRA.

See Neri v. Ross-Simons, Inc., 897 A.2d 42, 48 (R.I. 2006) ("This Court has adopted the

federal legal framework to provide structure to our state employment discrimination

statutes."). The First Circuit has recently held that there is no individual liability under

Title VII. Fantini v. Salem State Coll., 557 F.3d 22 (1st Cir. 2009). In so holding, the

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First Circuit joined a majority of the Circuit Courts. A majority of state courts with

statutes similar to Title VII have also reached the same conclusion with respect to state

employment discrimination statutes. See Perodeau v. City of Hartford, 259 Conn. 729,

742 (2002) (examining jurisdictions with similar state statutes and concluding that the

majority of courts that have considered the issue have concluded that individuals may

not be held liable under the relevant state's employment discrimination statute).

Interpreting the Rhode Island employment discrimination statutes, including RIFEPA

and RICRA, consistently with Title VII, there is no individual liability under either

RIFEPA or RICRA. See Johnston v. Urban League of Rhode Island et al., C.A. No. 09-

167S (attached at Exhibit G), accepted 2009 U.S. Dist. LEXIS 106205 (Nov. 13, 2009)

(Smith, J.) (attached at Exhibit H); see also Arroyo-Perez v. Demir Group Int’l, No. 09-

2231 (JA), 2010 U.S. Dist. LEXIS 83663 at *5 (D. P.R. 2010) (recognizing that there is

no individual liability and acknowledging the precedential effect of Fantini over Iacampo

v. Hasbro, Inc., 929 F. Supp. 562 (D.R.I. 1996)) (attached at Exhibit I).

       In addressing an earlier state trial court decision that permitted individual liability

under RIFEPA based on the assumption that Title VII permits individual liability, the

court in Johnston was clear that cases presuming individual liability are no longer good

law in light of Fantini. Johnston, at 3-4. In Johnston, the court explained that previous

decisions in the district permitting individual liability under RIFEPA were “based

primarily on the analogous determination that individual liability also extended to Title

VII.” Id. at 3 (citing Iacampo v. Hasbro, Inc., 929 F. Supp. 562 (D.R.I. 1996); Wyss v.

Gen. Dynamics Corp., 24 F. Supp. 2d 202 (D.R.I. 1998)). Pointing out that RIFEPA is

“intended to be Rhode Island’s analog to Title VII”, the court explained that since Fantini



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is now the law with respect to the scope of Title VII liability, the same conclusions

should apply to RIFEPA. Id. at 3. “In view of the[] statutory parallels [between Title VII

and RIFEPA], it makes no sense to interpret Title VII to exclude individual liability and

RIFEPA to include it.” Id. at 4.

       The same is true with respect to RICRA, as applied in the employment context.

Rhode Island courts have concluded that RICRA extends to all forms of discrimination

in the workplace. See, e.g., Ward v. City of Pawtucket Police Dep't, 639 A.2d 1379,

1381 (R.I. 1994). As explained above, RICRA, like RIFEPA, tracks federal law. See

Neri, 897 A.2d at 48. To the extent that RICRA is to track Title VII with respect to

workplace discrimination, it must be interpreted in the same manner as RIFEPA, as

excluding individual liability. To conclude otherwise would create liability in the

employment context under RICRA that is not available under either RIFEPA or Title VII,

as detailed in Fantini and Johnston.

       The Rhode Island Supreme Court has held that with respect to employment

discrimination claims, the RIFEPA and the RICRA must be read in pari materia. Horn v.

Southern Union Co., 927 A.2d 292, 295-6 (R.I. 2007) (“Since both the FEPA and the

RICRA expressly deal with the subject of employment discrimination, in our view it is

entirely appropriate to read the two statutes as being in pari materia—i.e. as

necessitating that they ‘be read in relation to each other.’”). It is an especially well-

settled principle of statutory construction that when faced with statutory provisions that

are in pari materia, the courts will “construe them in a manner that attempts to

harmonize them and that is consistent with their general objective scope." Id. at 295

(quoting State v. Dearmas, 841 A.2d 659, 666 (R.I. 2004)). Accordingly, there can be



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no employment discrimination claim against an individual other than the employer under

either RIFEPA or RICRA, and plaintiff in the above-captioned action cannot make out a

viable claim against the Individual Defendants.

       B.     There is No Viable Supervisory Liability Claim.

       Even if the Individual Defendants could be personally liable for their supervisory

conduct under RIFEPA, there is also no viable claim for supervisory liability against any

of the Individual Defendants. In the Complaint, Plaintiff asserts that each Individual

Defendant was acting in a supervisory capacity. See Complaint ¶¶ 6-10. Further,

Plaintiff does not allege any conduct by the Individual Defendants that would be

separate or distinct from that of the employer. Therefore, as the court in Johnston

explained (discussed below), there is no viable claim for supervisory liability. See

Complaint ¶¶ 19, 20, 25, 26.

       First, with respect to Mr. Smith and Ms. Defedele, there are no factual allegations

against these defendants except that they are Rhode Island residents and were the

Assistant Manager and Supervisor, respectively, at 99 West at all relevant times. See

Complaint ¶¶ 8 and 10, 19-26. Second, Plaintiff asserts only that Ms. Simpson advised

Plaintiff that she needed to wear her back brace under her work shirt as opposed to

outside her uniform. See Complaint ¶ 19. Plaintiff makes no further allegations that

would involve Ms. Simpson in Plaintiff’s claim of disability discrimination. The lack of

any substantive allegations against Mr. Smith, Ms. Defedele and Ms. Simpson requires

that the claims against all three be dismissed.

       Third, even the heart of Plaintiff’s claims, involving Ms. Deane and Mr. England,

are not sufficient to establish individual liability. Those allegations are as follows:



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              On Saturday, May 10, Plaintiff went to work with her back
              brace on. Defendants England and Dean admonished her
              for having the back brace on. Defendants said Plaintiff could
              not work with the brace if it was on the outside. Plaintiff
              explained why she could not wear the back brace on the
              inside and told them she was going to get fitted for another
              one at her next visit with the therapist. At that point,
              Defendants told Plaintiff that, before seeing her therapist,
              she had three options: don’t wear the back brace, wear
              maternity pants, or don’t work. A short time later, Plaintiff
              informed Defendants that, given the limited options, she was
              going to choose the third option.

See id. at ¶ 20. The Plaintiff goes on to allege that “Defendants” perceived her as being

disabled, that “Defendants refused to accommodate” her and that this conduct violated

RIFEPA and RICRA. Id. at ¶¶ 25, 26, 29, 20, 32, 33.

       Even in a light most favorable to Plaintiff, her allegations amount only to conduct

pursuant to a statutory agency relationship and, therefore, are not sufficient to support a

claim of supervisory liability. Dismissal of the claims (to the extent that any are

asserted) against the Individual Defendants is supported by the decision of this Court in

Johnston v. the Urban League, cited earlier. In Johnston, the plaintiff contended that he

had alleged sufficient conduct on the part of the individual defendant to make out a

claim of supervisory liability based on the language in RIFEPA rendering it unlawful for

“any person, whether or not an employer … or employee, to aid, abet, incite, compel or

coerce the doing of any act declared by this section to be an unlawful employment

practice.” RIGL § 28-5-7(b). In rejecting this contention, the court examined the

allegations against the individual defendant. Id. at 5. As in this case, the plaintiff’s

allegations in Johnston against the individual defendant were in his supervisory

capacity, and all allegations of any wrongdoing were made jointly against the individual

and corporate defendants and pursuant to the agency relationship between employer


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and supervisory employees contemplated in RIFEPA. See RIGL § 28-5-6(7)(i) (defining

“employer” as including “any person acting in the interest of an employer directly or

indirectly”); Complaint, ¶¶ 6-10, 15, 19, 20, 25, 26. The court in Johnston interpreted

RIFEPA and the agency language contained therein consistently with the explicit

agency language set forth in Title VII:

              While Title VII expressly uses the term “agent,” RIFEPA’s
              definition of employer includes the phrase “and any person
              acting in the interest of an employer directly or indirectly.”
              This phrase in RIFEPA defines an agency relationship in the
              employer/employee context. Cf. Lawrence v. Anheuser-
              Bush, Inc., 523 A.2d 864, 867 (R.I. 1987)(defining an agency
              relationship as “the fiduciary relation which results from the
              manifestation of consent by one person [the principal] to
              another that the other [the agent] shall act on his behalf and
              subject to his control.”)

Johnston at 4. Concluding that the plaintiff had alleged only conduct pursuant to the

statutory agency relationship and had alleged no “aiding and abetting” conduct or

conduct different or separate from what was alleged against the employer, the Johnston

court found no sufficiently pled basis for individual liability of a supervisor under RIFEPA

and granted the individual defendant’s motion to dismiss. Id. at 5. The same is true

here. Therefore, there is no basis for individual supervisory liability against any of the

Individual Defendants.

III.   Plaintiff Signed an Alternative Dispute Resolution Agreement which Deprives Any
       Court of Jurisdiction Over Her Claims.

       On April 25, 2005, Plaintiff executed an Alternative Dispute Resolution

agreement, which requires that any controversy or dispute arising out of her

employment, including discrimination claims, be resolved through the American

Arbitration Association under the National Rules for Resolution of Employment



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Disputes. See Affidavit of Brant Fahle attaching Agreement (attached at Exhibit J).

The agreement states, in part, that:

              I, the undersigned party, hereby agree to submit any
              controversy or dispute arising out of or in connection with my
              compensation, employment or termination of employment,
              including but not limited to any statutory claims, such as
              discrimination or harassment to mediation and/or arbitration.

              ...

              Employee and Ninety Nine mutually agree that any and all
              claims or disputes Employee may have now or in the future
              with or against Ninety Nine, any parent or subsidiary of, or
              any company affiliated with Ninety Nine, or any of its
              subsidiaries, and their officers, directors, managers,
              employees, or agents acting in their capacity as such or
              otherwise, or that Ninety Nine may have now or in the future
              with or against Employee, may be heard by a neutral
              mediator selected from the roster of employment dispute
              mediators of the American Arbitration Association (“AAA”) in
              accordance with the National Rules for the Resolution of
              Employment Disputes.

See id. All of Plaintiff’s claims fall squarely within this agreement. A court "may

dismiss, rather than stay, a case when all of the issues before the court are arbitrable.”

Davis-Ranelli v. Carnegie Tower Dev. Co., Nos. CA 09-497-ML, CA 09-498-ML, CA 09-

499-ML, 2010 U.S. Dist. LEXIS 50820, at *5, 12 (D.R.I. May 18, 2010) (quoting

Bercovitch v. Baldwin School Inc., 133 F.3d 141, 156 n.21 (1st Cir. 1998)) (attached at

Exhibit K). Consequently, the suit should be dismissed.




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Conclusion

      For the foregoing reasons, Defendants respectfully request that the above-

captioned Complaint be dismissed with prejudice.

Dated: October 6, 2010

                                       Defendants NINETY NINE RESTAURANT &
                                       PUB, O’CHARLEY’S INC., MICHELLE
                                       DEANE, CHRISTOPHER ENGLAND, FRANK
                                       SMITH, VICKI SIMPSON and JEAN
                                       DEFEDELE

                                       By their attorneys,


                                       /s/ Lori Caron Silveira
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                              CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the within Memorandum of Law in Support of
Motion to Dismiss was sent by first class mail to the following counsel of record on this
6th day of October, 2010.

Patricia E. Andrews
129 Dyer Street
Providence, RI 02903


                                          /s/ Lori Caron Silveira
                                          Lori Caron Silveira


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